Case 23-10084-amc                    Doc         Filed 01/29/24 Entered 01/29/24 19:08:36                             Desc Main
                                                 Document      Page 1 of 4
      Fill in this information to identify the case:

      Debtor 1      JOHN THOMAS MOORE, JR

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court for the: Eastern District of Pennsylvania

      Case number 23-10084-amc




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                              12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



    Name of creditor: Freedom Mortgage Corporation                                   Court claim no. (if known): 12

  Last four digits of any number you use to
  identify the debtor’s account: 9172

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
           No
           Yes. Date of the last notice:         /    _/


  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                          Dates incurred                          Amount

    1. Late charges                                                                                                    (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                                 (2)   $ 0.00
    3. Attorney’s fees                                                                                                 (3)   $ 0.00
    4. Filing fees and court costs                                                                                     (4)   $ 0.00
    5. Bankruptcy/Proof of claim fees                                                                                  (5)   $ 0.00
    6. Appraisal/Broker’s price opinion fees                                                                           (6)   $ 0.00
    7. Property inspection fees                                                                                        (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                       (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                                 (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                        (10)   $ 0.00
  11. Other. Specify:                                                            01/05/2024(Post-Petition Arrears)    (11)   $ 3,428.26
  12. Other. Specify:                                                                                                 (12)   $ 0.00
  13. Other. Specify:                                                                                                 (13)   $ 0.00
  14. Other. Specify:                                                                                                 (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.




Official Form 410S2                    Notice of Postpetition Mortgage Fees, Expenses, and Charges                                    page 1
Case 23-10084-amc                         Doc       Filed 01/29/24 Entered 01/29/24 19:08:36                                      Desc Main
                                                    Document      Page 2 of 4
    Debtor1    JOHN THOMAS MOORE, JR                                      Case number (if known) 23-10084-amc
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Mario J. Hanyon
         Signature
                                                                                  Date 01/29/2024



    Print: Mario J. Hanyon (203993)
           First Name           Middle Name          Last Name                    Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email P A B K R @ b r o c k a n d s c o t t . c o m




Official Form 410S2                        Notice of Postpetition Mortgage Fees, Expenses, and Charges                                        page 2
Case 23-10084-amc        Doc Filed 01/29/24 Entered 01/29/24 19:08:36             Desc Main
                             Document       Page 3 of 4
                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                   Philadelphia Division


 IN RE:
 JOHN THOMAS MOORE, JR                                Case No. 23-10084-amc
                                                      Chapter 13
 Freedom Mortgage Corporation,
        Movant

 vs.

 JOHN THOMAS MOORE, JR ,
      Debtor




                                  CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of
Postpetition Mortgage Fees, Expenses, and Charges has been electronically served or mailed, postage
prepaid on this day to the following:

Via Electronic Notice:

MICHAEL A. CIBIK, Debtor's Attorney
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
mail@cibiklaw.com


SCOTT F. WATERMANÂ [ChapterÂ 13], Bankruptcy Trustee
2901Â St.Â LawrenceÂ Ave.
SuiteÂ 100
Reading, PA 19606
Case 23-10084-amc        Doc     Filed 01/29/24 Entered 01/29/24 19:08:36         Desc Main
                                 Document      Page 4 of 4




Office of United States Trustee, US Trustee
Robert N.C. Nix Federal Building
900 Market Street Suite 320
Philadelphia, PA 19107


Via First Class Mail:

JOHN THOMAS MOORE, JR
1549 66TH AVE
PHILADELPHIA, PA 19126-2766



Date: January 29, 2024
                                              /s/Mario J. Hanyon
                                              Andrew Spivack, PA Bar No. 84439
                                              Matthew Fissel, PA Bar No. 314567
                                              Mario Hanyon, PA Bar No. 203993
                                              Ryan Starks, PA Bar No. 330002
                                              Jay Jones, PA Bar No. 86657
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
                                              3825 Forrestgate Drive
                                              Winston Salem, NC 27103
                                              Telephone: (844) 856-6646
                                              Facsimile: (704) 369-0760
                                              E-Mail: PABKR@brockandscott.com
